 1                                                       HONORABLE JAMAL N. WHITEHEAD
 2

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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     MAYTRONICS, LTD.,                                  Case No. 2:23-cv-01406-JNW
10

11
                                        Plaintiff,
12
                                                        JOINT STATUS REPORT
            v.
13

14   CHASING INNOVATION TECHNOLOGY
15
     CO., LTD. and CHASING TECHNOLOGY
     (USA), LLC,
16
                                     Defendants.
17

18
                                       JOINT STATUS REPORT
19
            Pursuant to the Court’s Order Regarding Initial Disclosures, Joint Status Report, and Early
20

21   Settlement, Dkt. No. 7 (“JSR Order”), the Court’s Local Civil Rules (“LCR”) and Local Patent

22   Rules (“PAT”), and after having conducted a Rule 26(f) conference, plaintiff Maytronics, Ltd.
23
     (“Plaintiff” or “Maytronics”) and defendants Chasing Innovations Technology Co., Ltd.
24
     (“Chasing-China”) and Chasing Technology (USA), LLC (“Chasing-USA”) (collectively
25
     “Defendants” or “Chasing”) jointly submit the following Joint Status Report.
26

27

28



                                                                                  K&L GATES LLP
     JOINT STATUS REPORT- 1                                                 925 FOURTH AVENUE, SUITE 2900
                                                                                SEATTLE, WA 98104-1158
     Case No. 2:23-cv-01406                                                      Telephone: +1 206 623 7580
                                                                                 Facsimile: +1 206 623 7022
        1. Nature and Complexity of the Case
 1

 2          The Parties jointly present the following nature of the case as a general summary and

 3   without waiver of any kind. The Parties reserve all their claims and defenses. Nothing herein shall
 4
     be considered an admission by any party.
 5
            This is a patent infringement case. Plaintiff, Maytronics, is a global leader in the swimming
 6

 7
     pool industry, specializing in pool water solutions and offering a wide variety of products such as

 8   robotic pool cleaners, pool safety products and water treatment systems. Maytronics was founded
 9   in 1983 and over the past 40 years, through innovative technology, design and reliability,
10
     Maytronics has built its pool cleaning robots into leading global brands, including the brand name
11
     Dolphin.
12

13          Among Maytronics innovative technologies is a filter bypass mechanism claimed and

14   disclosed in U.S. Patent No. 10,378,229 (“the ’229 patent”). Prior to Maytronics’ development of
15
     the filter bypass mechanism, the effectiveness or even mere movement of cleaning robots in the
16
     market required a clean filtering unit. For example, some prior cleaning robots may stop moving
17
     all together when the filter is clogged. Further, prior cleaning robots were unable to climb vertical
18

19   pool walls without sufficient fluid flow to create the suction necessary to attach the cleaning robot

20   to a vertical pool wall. Maytronics’ patented filter bypass mechanism allows for continual fluid
21
     flow through the cleaning robot to maintain consistent motion and to create sufficient suction to
22
     enable vertical pool wall climbing.
23
            The following images depict some of the Maytronics’ products bearing the Dolphin brand
24

25   that include the filter bypass feature disclosed and claimed in the ’229 patent:

26

27

28



                                                                                     K&L GATES LLP
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                                                                                   SEATTLE, WA 98104-1158
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                                                                                    Facsimile: +1 206 623 7022
 1

 2

 3

 4
            Dolphin Active 60                  Dolphin M600                Dolphin Nautilus CC Pro
 5

 6          In 2022, Chasing entered the robotic pool cleaning industry by making, using, selling, and
 7
     offering for sale in the United States and/or importing into the United State the Chasing CM600
 8
     pool cleaner, depicted in the following image:
 9

10

11

12

13

14
     https://www.chasing.com/en/chasing-cm600-robotic-pool-cleaner.html.
15

16          Maytronics sent Chasing-China a cease and desist letter, which was delivered on May 9,

17   2023. In the cease and desist letter, Maytronics informed Chasing-China of Maytronic’s position
18
     that the Chasing CM600 pool cleaner infringed at least claim 1 of the ’229 patent, and requested
19
     that Chasing-China cease and desist from infringing the ’229 patent.           Maytronics also sent
20
     Chasing-USA a cease and desist letter, which was delivered on May 4, 2023. In the cease and
21

22   desist letter, Maytronics informed Chasing-USA of Maytronic’s position that the Chasing CM600

23   pool cleaner infringed at least claim 1 of the ’229 patent, and requested that Chasing-USA cease
24
     and desist from infringing the ’229 patent. Neither Chasing-China nor Chasing-USA responded to
25
     Maytronics’ cease and desist letter before the instant lawsuit was filed. However, since the lawsuit
26

27
     was filed, counsel for the Parties have participated in preliminary settlement discussions, which

28   are ongoing.


                                                                                    K&L GATES LLP
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                                                                                   Facsimile: +1 206 623 7022
            Plaintiff Maytronics has asserted that Defendants Chasing willfully infringe the ’229 patent
 1

 2   by virtue of making, using, selling, offering for sale, and/or importing the Chasing CM600 robotic

 3   pool cleaner in and/or into the United States. The claimed invention of the ’229 patent is directed
 4
     to a cleaning robot that includes a housing having an inlet and an outlet, a filtering unit located
 5
     within the housing for filtering fluid, a bypass mechanism to allow fluid to bypass the filtering
 6

 7
     unit, and a fluid suction unit that directs fluid, which enters through the inlet and passes through

 8   either the filtering unit or the bypass mechanism, toward the outlet. Plaintiff seeks actual damages
 9   and enhanced damages under 35 U.S.C. § 284, a finding that Defendants infringement has been
10
     willful and the case is exceptional under 35 U.S.C. § 285, costs and attorneys’ fees, and a
11
     permanent injunction pursuant to 35 U.S.C. § 283.
12

13          Defendant Chasing-China is a world-leading company in research and development,

14   production and sales of consumer-grade underwater drones, industrial-grade underwater robots
15
     and portable smart unmanned equipment. Defendant Chasing-China is a national high-tech
16
     enterprise in China. Founded in 2016, Chasing-China is headquartered in Shenzhen with a wholly-
17
     owned subsidiary in the U.S. via Chasing-USA. While Defendants acknowledge that they
18

19   manufacture and sell the CM600 pool cleaner, they vigorously deny infringement of any valid

20   claim of the ’229 patent.
21
               The Parties do not think that this case will be more complex than any other typical patent
22
     infringement case.
23

24
        2. Consent to Assignment of Magistrate Judge

25          The Parties do not consent to assignment of a magistrate judge.

26      3. Proposed Deadline for Joining Additional Parties
27
            The Parties propose a deadline of February 29, 2024 for joining additional parties.
28



                                                                                    K&L GATES LLP
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                                                                                   Facsimile: +1 206 623 7022
        4. Statement for Class Certification
 1

 2             N/A.

 3      5. Discovery Plan
 4
                  A. Initial Disclosures
 5
               Pursuant to the JSR Order and the Order Granting Unopposed Motion to Extend Time (Dkt.
 6

 7
     No. 20), the Parties timely served their respective Initial Disclosures on December 6, 2023.

 8                B. Subjects, Timing, and Potential Phasing of Discovery
 9             Plaintiff anticipates that discovery will include design, manufacture, marketing and sales
10
     of Defendants’ Chasing CM600 robotic pool cleaner, the allegations raised in the complaint, the
11
     validity of the asserted patent, prior art to the asserted patents, Defendants knowledge of the ’229
12

13   patent and damages relating to the accused product, among other issues relating to the asserted

14   patent and the parties’ claims or defenses.
15
               Defendants anticipate that discovery will also include topics relating to the ownership,
16
     enforcement, licensing, conception and reduction to practice of the alleged invention of the ’229
17
     patent.
18

19             The Parties do not believe that there are any unusual timing issues related to discovery that

20   need to be addressed in the Court’s Scheduling Order. Resolution of the case would not benefit
21
     from phasing of discovery.
22
                      Otherwise, the Parties propose the following case schedule, which modifies the
23
     deadlines provided for in the Local Patent Rules:
24

25
                         EVENT                        Plaintiff’s Proposed        Defendants’ Proposed
26                                                         Deadline                     Deadline

27    Fed. R. Civ. P. 26(f) Conference              November 1,          2023 N/A
                                                    (Court Ordered)
28



                                                                                       K&L GATES LLP
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                                                                                      Facsimile: +1 206 623 7022
 1   Exchange of Fed. R. Civ. P. 26(a)(1) December     6,        2023 N/A
     Initial Disclosures                  (Court Ordered)
 2
     Plaintiff     to    serve   Preliminary December 6, 2023           N/A
 3
     Infringement Contentions and disclosure
 4   of asserted claims and accompanying file
     history for the Asserted Patent (PAT
 5   120)
 6
     Combine Joint     Status   Report   and December 13,        2023 N/A
 7   Discovery Plan                          (Court Ordered)

 8   Deadline for Defendants to answer or January 16, 2024              N/A
     otherwise defend
 9                                        (Court Ordered)

10   Defendant to serve Preliminary Non- February 20, 2024              Agree with Plaintiff’s
     Infringement and Invalidity Contentions                            proposal
11
     (PAT 121) and accompanying document
12   production (PAT 122)

13   Deadline for amended pleadings                                     February 29, 2024
14
     Parties to exchange Proposed Terms and March 29, 2024              Agree with Plaintiff’s
15   Claims Elements for Construction                                   proposal
     (PAT130)
16
     Parties to exchange Preliminary Claim April 19, 2024               Agree with Plaintiff’s
17
     Constructions and Extrinsic Evidence                               proposal
18   (PAT 131)

19   Parties to file Joint Claim Chart and May 24, 2024                 Agree with Plaintiff’s
     Prehearing Statement (PAT 132)                                     proposal
20
     Construction Expert Disclosures, if June 7, 2024                   Agree with Plaintiff’s
21
     necessary (PAT 132)                                                proposal
22
     Completion of claim construction June 28, 2024                     Agree with Plaintiff’s
23   discovery, if necessary (PAT 133)                                  proposal
24
     Joint Claim Construction Brief (PAT                                Agree with Plaintiff’s
25   134)                                                               proposal
                                                 1.   July 12, 2024
        1. Plaintiff to serve opening brief      2.   July 26, 2024
26
        2. Defendant to serve answering          3.   August 9, 2024
27         brief                                 4.   August 16, 2024
        3. Plaintiff to serve reply brief        5.   August 23, 2024
28      4. Defendant to serve sur-reply brief


                                                                              K&L GATES LLP
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                                                                             Facsimile: +1 206 623 7022
          5. Parties to file Joint        Claim
 1
             Construction Brief
 2
      Tutorial (if necessary) (PAT 132(g))         14 days prior to Claim Agree with Plaintiff’s
 3                                                 construction    hearing proposal
                                                   ready date
 4

 5    Claim construction hearing ready date September 27, 2024                    Agree with Plaintiff’s
      (PAT 135)                                                                   proposal
 6
      Claim Construction Hearing                   Per Court Order                N/A
 7

 8
      Close of fact discovery                      February 20, 2025              Agree with Plaintiff’s
                                                                                  proposal
 9
      Parties to exchange initial expert reports   March 7, 2025                  Agree with Plaintiff’s
10                                                                                proposal
11
      Parties to exchange responsive/rebuttal April 3, 2025                       Agree with Plaintiff’s
12    expert reports                                                              proposal

13    Parties to exchange supplemental reports April 25, 2025                     Agree with Plaintiff’s
                                                                                  proposal
14

15
      Close of expert discovery                    May 16, 2025                   Agree with Plaintiff’s
                                                                                  proposal
16
      Parties to file case dispositive motions July 31, 2025                      Agree with Plaintiff’s
17    and/or Daubert motions                                                      proposal
18
      Trial Ready Date                             November 3, 2025               Agree with Plaintiff’s
19                                                                                proposal

20

21              C. Electronically Stored Information
22
            Given the scope of anticipated discovery, the Parties do not anticipate any unusual issues
23
     related to discovery of electronically stored information (“ESI”) that would warrant involvement
24
     of the Court at this time.
25

26          The Parties will work together and endeavor to agree upon an ESI order compliant with

27   the model order regularly used in this district. See also, supra Part 5.B.
28
                D. Privilege Issues

                                                                                        K&L GATES LLP
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                                                                                      SEATTLE, WA 98104-1158
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                                                                                       Facsimile: +1 206 623 7022
            The Parties do not anticipate any unusual privilege issues that warrant the Court’s
 1

 2   involvement at this time.

 3              E. Proposed Limitations on Discovery
 4
            The Parties do not currently anticipate the need for any limitations on discovery or any
 5
     unusual issues with or any difficulty completing discovery within the limitations that currently
 6

 7
     exists under the rules and proposed schedule that would warrant involvement of the Court at this

 8   time. Plaintiff does anticipate documents produced by Defendants may be written/recorded in
 9   Chinese rather than English. Plaintiff also anticipates that Defendants’ witnesses may speak
10
     Mandarin or Cantonese, and not English. Likewise, Defendants anticipate (i) documents produced
11
     by Plaintiff may be written/recorded in Hebrew, and not English; and (ii) Plaintiff’s witnesses may
12

13   speak Hebrew, and not English. The Parties agree to work together to resolve any issues as a result

14   of this potential language barrier. To the extent that this becomes an issue or obstacle, the Parties
15
     may seek guidance from the Court. However, currently, given the scope of anticipated discovery,
16
     the Parties do not anticipate further expansion or reduction of discovery at this time.
17
                F. Need for Any Discovery Related Orders
18

19          A Protective Order imposing certain discovery-related limitations on trade secrets and

20   other confidential or proprietary information will be necessary. The Parties will work together and
21
     endeavor to agree upon a Protective Order compliant with the model order regularly used in this
22
     district that includes adequate protections for any production of highly sensitive trade secrets and
23
     other confidential or proprietary information.
24

25      6. Parties’ Views, Proposals, and Agreements Regarding Certain Issues
26              A. Prompt Case Resolution
27

28



                                                                                     K&L GATES LLP
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                                                                                    Facsimile: +1 206 623 7022
             The Parties agree that, given the nature of the claims, defenses and potential damages, the
 1

 2   prospects for an early consensual resolution should continue to be explored by the Parties.

 3   Accordingly, the Parties intend to continue discussions regarding early resolution.
 4
                B. Alternative Dispute Resolution
 5
             Given the nature of the claims of infringement, the asserted claims of the patent and
 6

 7
     defenses to be asserted by the Defendant, the Parties maintain that ADR is not warranted at this

 8   time.
 9              C. Related Cases
10
             There are currently no pending cases in any U.S. district court or before the International
11
     Trade Commission in which the claims of the ’229 Patent are asserted or otherwise in dispute.
12

13   Similarly, there are no pending requests for or instituted inter partes or ex parte review proceedings

14   at the U.S. Patent & Trademark Office regarding the ’229 Patent.
15
                D. Discovery Management
16
             The Parties will work together cooperatively to streamline discovery and to make a good
17
     faith effort to try to resolve any discovery-related disagreements that arise. Appointment of a
18

19   Discovery Master is not warranted at this time. To the extent that the Parties are unable to resolve

20   such dispute without Court intervention, the Parties agree to present such disputes through the
21
     procedures set forth in either LCR 7(d)(3) or LCR 37(a)(2).
22
                E. Anticipated Discovery Sought
23
             The Parties intend to conduct discovery on issues raised in the Complaint including at least
24

25   the subject areas identified in Section 5.B.

26              F. Phasing Motions
27
             The Parties do not anticipate the need to phase motion practice.
28



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                                                                                     Facsimile: +1 206 623 7022
                  G. Preservation of Discoverable Information
 1

 2            The Parties have taken reasonable steps to preserve discoverable information. Accordingly,

 3   the Parties do not anticipate the need for Court intervention regarding preservation issues at this
 4
     time.
 5
                  H. Privilege Issues
 6

 7
              All documents that pre-date the filing of the complaint that are withheld from production

 8   under a claim of privilege will be identified in a privilege log that is provided to the requesting
 9   party.
10
                  I. Model Protocol for Discovery of ESI
11
              The Parties will work together an endeavor to agree upon an ESI order compliant with the
12

13   model order regularly used in this district.

14                J. Alternative to Model Protocol
15
              The Parties will work together an endeavor to agree upon an ESI order compliant with the
16
     model order regularly used in this district.
17
        7. Date by Which Discovery Can Be Completed
18

19            See proposed schedule in Section 5.B.

20      8. Bifurcation of the Case
21
              The Parties agree that there is no meaningful reason to bifurcate the case at this time.
22
        9. Necessity for Pretrial Statements and Pretrial Order called for by LCR 16(e), (h), (i),
23

24
              and (k), and 16.1

25            At this time, the Parties agree that pretrial statements and a pretrial order called for by LCR

26   16(e), (h), (i), and (k), and 16.1 will increase economy, and therefore agree that that same is
27
     necessary.
28



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        10. Intent to Utilize Individualized Trial Program or Alternative Dispute Resolution
 1

 2          The Parties do not intend to utilize the Individual Trial Program. The Parties are negotiating

 3   whether Alternative Dispute Resolution is appropriate and will promote early and inexpensive
 4
     resolution.
 5
        11. Suggestions for Shortening or Simplifying the Case
 6

 7
            N/A

 8      12. Trial Ready Date
 9          See proposed schedule in Section 5.B.
10
        13. Jury Trial
11
            The Parties seek trial by a jury.
12

13      14. Number of Trial Days Required

14          The Parties agree that a five (5) day trial is sufficient.
15
        15. Names, Addresses, and Telephone Numbers of All Trial Counsel
16
            Given the trial ready date identified above in Section 5.B, the Parties reserve the right to
17
     amend the list of trial counsel.
18

19      16. Dates on which Trial Counsel May Have Conflicts or Other Complication to Be

20          Considered in Setting a Trial Date
21
            Given the trial ready date identified above in Section 5.B, the Parties reserve the right to
22
     move for a new trial date in the event of conflicts or other complication. The Parties agree to meet
23
     and confer in good faith regarding any motion for a new trial date.
24

25      17. Service on Defendants
26

27

28



                                                                                    K&L GATES LLP
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                                                                                  SEATTLE, WA 98104-1158
     Case No. 2:23-cv-01406                                                        Telephone: +1 206 623 7580
                                                                                   Facsimile: +1 206 623 7022
            Defendant Chasing-USA has been served. See Dkt. No. 9. Defendant Chasing-China
 1

 2   waived serve in exchange for an extension of time to answer, respond, or otherwise defend against

 3   the Complaint.
 4
        18. Desire for a Pretrial Fed. R. Civ. P. 16 Conference with Court
 5
            At this time, the Parties believe a pretrial Fed. R. Civ. P. 16 conference would not be
 6

 7
     beneficial.

 8      19. Dates for Filing Fed. R. Civ. P. 7.1 and LCR 7.1 disclosures
 9          Plaintiff filed its Fed. R. Civ. P. 7.1 and LCR 7.1 disclosures on September 11, 2023.
10
     Defendants filed their Fed. R. Civ. P. 7.1 and LCR 7.1 disclosures on November 16, 2023.
11

12

13   Respectfully submitted this 13th day of December, 2023.

14
                                                       K&L GATES LLP
15

16                                                     By      /s/ Christopher M. Wyant
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21

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24

25                                                     By /s/ Eric W. Schweibenz (with permission)
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11                              Attorneys for Defendants Chasing Innovation
                               Technology Co., Ltd. and Chasing Technology
12
                               (USA), LLC,
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                                                        Facsimile: +1 206 623 7022
